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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )     No. 12 CR 957–2
      v.                                  )
                                          )     Judge Sharon Johnson Coleman
IKE F. JEFFRIES                           )

                      ORDER TO PRESERVE CERTAIN
                    PROPERTY SUBJECT TO FORFEITURE

      This matter comes before the Court on the application of the United States

for entry of an order allowing the Government to maintain custody of certain

property to preserve the property for forfeiture, and the Court being fully advised

finds as follows:

      (a)    On March 7, 2012, law enforcement officers with the United States

Secret Service (“USSS”) seized the following property from defendant Ike F. Jeffries

pursuant to search warrants issued in the United States District Court for the

Northern District of Illinois for a single-family home located at 1108 S. Menard

Avenue in Chicago, Illinois, and for the basement apartment located at 1109 S.

Monitor Avenue in Chicago, Illinois, as property constituting and derived from

proceeds traceable to violations of access device fraud pursuant to Title 18, United

States Code, Section 1029:

             1.     funds in the amount of two thousand six hundred eleven dollars
                    ($2,611.00);

             2.     one 100th Anniversary Edition Harley Davidson Motorcycle gas
                    tank;
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                3.    one 2001 Mercedes Benz S55, VIN: WDBNG73J11A209398; and

                4.    one 2003 Harley Davidson Road Glide Motorcycle, VIN:
                      1HD1FSW153Y604405;

        (b)     Written notice of USSS’s intention to forfeit the foregoing property was

sent to certain interested parties, as required by Title 18, United States Code,

Section 983(a)(1)(A);

        (c)     On May 23, 2012, defendant filed a claim with USSS in a nonjudicial

civil forfeiture proceeding against the seized property. USSS referred the claim to

the    United    States   Attorney’s   Office,   under   the   administrative   forfeiture

proceedings, to commence a civil forfeiture action pursuant to the provisions of

Title 18, United States Code, Section 981(a)(1)(C). Pursuant to Title 18, United

States Code, Section 983(a)(3)(A), the Government has ninety days from the date

that defendant filed his claim to commence a civil forfeiture action or obtain a

criminal indictment containing an allegation that the seized property is subject to

forfeiture. On August 17, 2012, and November 8, 2012, Chief Judge James F.

Holderman       entered    orders,   pursuant    to   Title 18,   United   States   Code,

Section 983(a)(3)(A) and (C), extending the deadline for a complaint to be filed

against the property, or for the property to be included in an indictment alleging

forfeiture;

        (d)     On January 29, 2013, an indictment was returned charging defendant

Jeffries and other co-defendants with access device fraud pursuant to Title 18,

United States Code, Section 1029(a)(1), (a)(2), (a)(3), and (a)(4), and wire fraud

pursuant to Title 18, United States Code, Section 1343. The indictment included a


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forfeiture allegation seeking forfeiture of any and all right, title and interest the

defendant Jeffries and his co-defendants may have in: (i) any personal property

used or intended to be used to commit the charged access device fraud offenses,

pursuant to Title 18, United States, Code, Section 1029(c)(1)(C); and (ii) any

property, real and personal, constituting and derived from, proceeds traceable to the

charged access device fraud offenses, pursuant to Title 18, United States Code,

Section 982(a)(2)(B). The forfeiture allegation further seeks forfeiture of any right,

title and interest defendant Jeffries and his co-defendants may have in any

property, real and personal, constituting, and derived from, proceeds traceable to

the charged wire fraud offenses, pursuant to Title 18, United States Code,

Section 981(a)(1)(C),   and   Title 28,   United    States   Code,    Section 2461(c).

Furthermore, the forfeiture allegation seeks forfeiture of the interests of defendant

Jeffries of substitute property pursuant to Title 21, United States Code,

Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1),

and Title 28, United State Code, Section 2461(c). The forfeiture allegation identified

items 1, 3, and 4 from paragraph (a) above as property subject to forfeiture in this

matter;

      (e)    On March 8, 2013, the government filed a bill of particulars identifying

item 2 from paragraph (a) above as property subject to forfeiture in this matter;

      (f)    Since the subject property is alleged to be subject to forfeiture upon the

conviction of defendant, the government requests entry of this order to preserve and

protect the property so that it is ultimately available to satisfy any forfeiture




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judgment entered by the Court at the time of sentencing. Specifically, Title 18,

United States Code, Section 983(a)(3)(B)(ii)(II) provides that when the Government

chooses to forfeit property that has been seized for civil forfeiture proceedings, it

must “take the steps necessary to preserve its right to maintain custody of the

property as provided in the applicable criminal forfeiture statute if a claim has been

filed;”

          (g)   Title 21, United States Code, Section 853(e)(1)(A) provides in pertinent

part:

          Upon application of the United States, the court may enter a
          restraining order or injunction, require the execution of a satisfactory
          performance bond, or take any other action to preserve the availability
          of property described in subsection (a) for forfeiture under this section
          upon the filing of an indictment or information charging a violation of
          this subchapter or subchapter II of this chapter for which criminal
          forfeiture may be ordered under this section and alleging that the
          property with respect to which the order is sought would, in the event
          of conviction, be subject to forfeiture under this section . . . .

          (h)   Because the subject property is in the custody of the United States,

and the grand jury has determined that there is probable cause to believe that the

property is subject to forfeiture, the government requests that an order be entered

allowing it to maintain custody of the foregoing seized property pursuant to

Title 21, United States Code, Section 853(e)(1) to preserve the availability of the

seized property for forfeiture in this action. Although Title 21, United States Code,

Section 853(f) authorizes the issuance of a criminal seizure warrant, in cases

similar to this case, where the property in question is already in the government’s

custody, it is inappropriate for a court to issue a seizure warrant directing the


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government to seize property from itself. See In Re: 2000 White Mercedes ML320,

220 F. Supp. 2d 1322 (M.D. Fla. Sep 25, 2001) (if property is already in government

custody, no § 853(f) seizure warrant can be issued, as an order under § 853(e) would

be sufficient to preserve the property);

      (i)     As set forth in the indictment, the government intends to seek

forfeiture of certain property as part of the prosecution in this matter. To ensure

that the foregoing seized property is available for forfeiture proceedings, the United

States must maintain custody of this property. If the seized property is not

maintained in the government’s custody pending the outcome of any forfeiture

proceedings, the property is likely to be transferred, concealed or otherwise made

unavailable to satisfy the defendant’s forfeiture liability. If the foregoing seized

property is transferred or concealed, it will be difficult, if not impossible, to trace the

property that was involved in the charged illegal activity. Further, upon entry of a

forfeiture judgment, considering the character of this property, it will not be

available to satisfy any forfeiture judgment entered by this Court at the time of

sentencing.

      Accordingly, it is hereby ORDERED, DIRECTED and ADJUDGED:

      1.      That pursuant to Title 21, United States Code, Section 853(e)(1), the

following property seized from defendant on or about March 7, 2012, shall be

maintained by the United States through the conclusion of the pending criminal

case to preserve the property so that it is available to satisfy the forfeiture liability

of defendant IKE F. JEFFRIES:




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           (a)    funds in the amount of two thousand six hundred eleven dollars
                  ($2,611.00);

           (b)    one 100th Anniversary Edition Harley Davidson Motorcycle gas
                  tank;

           (c)    one 2001 Mercedes Benz S55, VIN: WDBNG73J11A209398; and

           (d)    one 2003 Harley Davidson Road Glide Motorcycle, VIN:
                  1HD1FSW153Y604405.

                                           ENTERED:




                                           SHARON JOHNSON COLEMAN
                                           United States District Judge

DATE: March 18, 2013




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